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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION

BRENDA HOOD,                                   )
                                               )
       Plaintiff,                              )
                                               )
  v.                                           ) CIVIL ACT. NO. 3:19-cv-559-ECM
                                               )            (WO)
WALMART STORE #5903, et al.,                   )
                                               )
       Defendants.                             )

                        MEMORANDUM OPINION and ORDER

        On June 11, 2020, the Magistrate Judge entered a Recommendation (doc. 27) to

which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, and for good cause, it is

        ORDERED that the Recommendation of the Magistrate Judge is ADOPTED, the

Defendants’ motions to dismiss (docs. 9 & 11) are GRANTED, and this case is

DISMISSED with prejudice.

       A separate Final Judgment will be entered.

       Done this 30th day of June, 2020.


                                        /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
